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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA,
               Plaintiff,

v.                                                       Criminal No. 5:06CR50054-001 and 002

BAUDILIO CASTILLO, and
DONIS CASTILLO,
                Defendants.


                          PRELIMINARY ORDER OF FORFEITURE

            In the forfeiture allegation of the Superceding Indictment, the United States sought

forfeiture of certain real and personal properties of the defendants pursuant to 18 U.S.C. § 982 as

property constituting, or derived from, proceeds of the offenses alleged in the Indictment.

Subsequently the United States filed a Bill of Particulars for Forfeiture of Property in which it

identified additional property it sought to forfeit.

            The defendants, Baudilio Castillo and Donis Castillo have pled guilty to Count One of

the Superseding Indictment and further agreed to forfeit certain personal property . By virtue of said

guilty pleas, the United States is entitled to possession of seized property pursuant to Rule 32.2(b)(3)

of the Federal Rules of Criminal Procedure.

            Accordingly, it is hereby ORDERED, DECREED and ADJUDGED:

            1. That based upon the guilty plea of the defendants to Count One of the Superseding

Indictment, and the forfeiture allegation, the United States is hereby authorized to seize the personal

property described as:
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            a.         Two hundred eight thousand, six hundred nineteen dollars ($208,619.00) in

                       U.S. currency;

            b.         Nine thousand, six hundred dollars ($9,600.00) U.S. currency;

            c.         Nine hundred, ninety seven dollars ($997.00) U.S. currency;

            d.         Thirteen thousand, seventy five dollars and thirteen cents ($13,075.13) U.S.

                       currency seized from Regions Bank Account #__-____-3046;

            e.         One 2001 Chevrolet Silverado C1500 HD truck, black in color, VIN #

                       1GCGK13U71F198572;

            f.         One 2002 Toyota Tacoma truck, 4-cylinder, maroon in color, VIN #

                       5TEWM72N32Z042890;

            g.         One 2001 Honda Accord 2dr Coupe EX V6, black in color, VIN #

                       1HGCG22561A022787; and

            h.         One Honda 600 RR motorcycle, VIN # JH2C37056M303524.

            2. The United States shall publish notice of this order pursuant to 18 U.S.C. § 982 (b)(1)

and 21 U.S.C. § 853 (n)(1) .

            3. That upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to Federal Rules of Criminal Procedure, Rule 32.2(c); 18 U.S.C. § 982 (b)(1);

and 21 U.S.C. § 853(n) in which all interests will be addressed.

            IT IS SO ORDERED this 20th day of December, 2007.




                                                  /s/ Jimm Larry Hendren
                                                  JIMM LARRY HENDREN
                                                  UNITED STATES DISTRICT JUDGE
